             Case 2:19-cr-00128-RAJ Document 58 Filed 10/21/20 Page 1 of 3




 1                                                       The Honorable Judge Richard A. Jones
 2
 3
 4
 5
 6
                         UNITED STATES DISTRICT COURT FOR THE
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8
 9 UNITED STATES OF AMERICA,                       NO. 2:19-cr-00128-RAJ
10
                               Plaintiff,
                                                   ORDER DENYING DEFENDANT’S
11                      v.
                                                   MOTION TO PROCEED WITH IN-
12                                                 PERSON SENTENCING ON
     CHARLES S. LONG,
                                                   OCTOBER 27, 2020
13
                               Defendant.
14
15
16         THIS MATTER comes before the Court on Defendant Charles Long’s Motion to

17 Proceed with In-Person Sentencing as scheduled on October 27, 2020 at 10:00 a.m.
18 Dkt. #56. The government has indicated it takes no position on the motion and defers to the
19 Court. Having considered the motion, and the files and pleadings herein, the Court finds as
20 follows:
21         Pursuant to General Order 15-20 and earlier General Orders of the United States

22 District Court for the Western District of Washington addressing measures to reduce the
23 spread and health risks from COVID-19, in light of the recommendations made by the
24 Centers for Disease Control and Prevention (CDC) and Public Health for Seattle and King
25 County regarding social distancing measures required to stop the spread of this disease,
26 Chief Judge Ricardo S. Martinez has determined that individual judges may proceed with a
27 very limited number of in-person hearings in felony criminal proceedings by issuing orders
28 on a case-by-case basis.



     ORDER – 1
              Case 2:19-cr-00128-RAJ Document 58 Filed 10/21/20 Page 2 of 3




 1         Mr. Long argues he meets the criteria establishing it is critical that his hearing
 2 proceed in person, and moves the Court to grant his request for an in-person sentencing
 3 hearing as scheduled on October 27, 2020. Mr. Long indicates he will request a sentence of
 4 time served.
 5         In response to Mr. Long’s earlier motion to conduct his sentencing by
 6 videoconference the government highlighted his extensive and serious criminal history,
 7 which includes a total of 14 convictions as a juvenile and another 14 convictions as an adult,
 8 including convictions for offenses such as assault, attempted robbery, carrying a dangerous
 9 weapon, drug trafficking, and felon in possession of a firearm. The government further
10 indicated Mr. Long has a history of violations of supervised release and approximately 24
11 failures to appear.
12         The Court has offered to make arrangements to conduct Mr. Long’s sentencing by
13 way of remote proceedings. In communications with court staff defense counsel represents
14 Mr. Long has declined this offer, however, his motion does not address this offer and sets
15 forth no reasons for Mr. Long’s decision. The Court notes that in July of 2020, Mr. Long
16 filed a motion to proceed via videoconference and advance his sentencing date, a motion
17 which was denied by the Court at that time based on the Court’s belief and hope that it would
18 be able to resume in-person proceedings in the autumn of 2020. Due to the continuing
19 nature of the pandemic, which appears to now be at the beginning of yet another wave of
20 community spread and increased infection, pursuant to General Order 15-20, all non-critical
21 in-person criminal hearings have been continued at least through January 1, 2021.
22         While not forecasting what the ultimate sentence will be, the Court finds that given
23 Mr. Long’s criminal history and the applicable sentencing guidelines range, it is unlikely the
24 Court will impose a sentence of time served. Accordingly, the Court finds that delaying an
25 in-person sentencing to a date in January will not cause harm to the interests of justice in this
26 matter.
27 ///
28 ///



     ORDER – 2
            Case 2:19-cr-00128-RAJ Document 58 Filed 10/21/20 Page 3 of 3




1         For the reasons set forth above, Mr. Long’s motion (Dkt. #56) is DENIED. The in-
2 person sentencing hearing in his matter is continued to January 8, 2021 at 2:30 p.m. Should
3 Mr. Long desire an earlier sentencing date by way of remote proceedings, the Court will
4 grant that request and proceed with sentencing as scheduled on October 27, 2020, or another
5 mutually agreeable date within the next two weeks.
6
7         DATED this 21st day of October, 2020.
8
9                                                 A
10                                                The Honorable Richard A. Jones
11                                                United States District Judge
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     ORDER – 3
